                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:09-CR-123-15
 v.                                                    )
                                                       )       COLLIER / LEE
 JAMES RONALD GRIFFITH                                 )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 13, 2010.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the eighty-one -

 count Superseding Indictment and entered a plea of guilty to Count One of the Superseding

 Indictment, in exchange for the undertakings made by the government in the written plea agreement.

 On the basis of the record made at the hearing, I find the defendant is fully capable and competent

 to enter an informed plea; the plea is made knowingly and with full understanding of each of the

 rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to Count One of the Superseding

 Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in Count One

 of the Superseding Indictment, and a decision on whether to accept the plea agreement be deferred

 until sentencing. I further RECOMMEND defendant remain in custody until sentencing in this




Case 1:09-cr-00123-TRM-SKL           Document 417          Filed 05/19/10    Page 1 of 2     PageID
                                           #: 890
 matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:09-cr-00123-TRM-SKL            Document 417         Filed 05/19/10      Page 2 of 2      PageID
                                            #: 891
